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          EXHIBIT 23
         to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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                                                                      Page 1
               UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA


MARIA SCHNEIDER, UNIGLOBE
ENTERTAINMENT, LLC, and AST
PUBLISHING LTD., individually
and on behalf of all others
similarly situated,
                  Plaintiffs,
                                        Case No.:
                  v.                    3:20-cv-04423-JD
YOUTUBE, LLC; and GOOGLE
LLC,

               Defendants.
_____________________________


                        CONFIDENTIAL
        VIDEOTAPED DEPOSITION OF JULIAN BILL


                         June 22, 2022
                           9:09 a.m.

                       Magna Legal Services
                           866-624-6221
                         www.MagnaLS.com

           44 Montgomery Street, 41st Floor
                San Francisco, California


REPORTED BY:
Siew G. Ung
CSR No. 13994, RPR, CSR
                  Case 3:20-cv-04423-JD Document 303-5 Filed 04/07/23 Page 3 of 11

                                                  Page 2                                                            Page 4
 1   APPEARANCES:                                           1             INDEX TO EXHIBITS
 2
 3    For Plaintiffs:                                       2               JULIAN BILL
 4       KOREIN TILLERY, LLC                                3           WEDNESDAY, JUNE 22, 2022
         CAROL O’KEEFE, ESQ.
 5       505 North 7th Street, Suite 3600                   4           Siew G. Ung CSR No. 13994, RPR
         St. Louis, Missouri 63101                          5
 6       314.241.4844
         cokeefe@koreintillery.com                          6   MARKED               DESCRIPTION             PAGE
 7                                                          7
         RYAN Z. CORTAZAR, ESQ.
 8       205 North Michigan, Suite 1950                     8   Exhibit 121      Packet of Documents         40
         Chicago, Illinois 60601                            9                 (GOOG-SCHNDR-00000924 to
 9       312.641.9750
         rcortazar@koreintillery.com,                      10                 GOOG-SCHNDR-00001058)
10                                                         11
      For Defendants:
11                                                         12   Exhibit 122      Pre-Publish Checks V1 Pro    130
         WILSON SONSINI GOODRICH & ROSATI
12       PROFESSIONAL CORPORATION
                                                           13                 (GOOG-SCHNDR-00041470 to
         ELI B. RICHLIN, ESQ.                              14                 GOOG-SCHNDR-00041476)
13       CATHERINE HARTMAN, ESQ.                           15
         1301 Avenue Of The Americas 40th Floor
14       New York, New York 10019                          16   Exhibit 123       Documents (GOOG-SCHNDR-00038782 158
         212.497.7781
15       erichlin@wsgr.com
                                                           17                 to GOOG-SCHNDR-00038807)
         chartman@wsgr.com                                 18
16
         GOOGLE (in-house)                                 19
17       JOHN JANHUNEN, ESQ.                               20
18
19                                                         21
20     Also Present:                                       22
21       RANDALL THIEBEN, Videographer
22                                                         23
23                                                         24
24
25                                                         25


                                                  Page 3                                                            Page 5
 1                      INDEX TO EXAMINATIONS               1         (Exhibits Continued)
 2                                                          2   MARKED           DESCRIPTION                        PAGE
 3              WITNESS: Julian Bill                        3
 4      EXAMINATION                                PAGE     4   Exhibit 124        YouTube In-Flight Report: Manual 190
 5      BY MS. O'KEEFE                              7       5                  Claiming Changes
 6      BY MR. RICHLIN                             221      6                  (GOOG-SCHNDR-00038961 to
 7                                                          7                  GOOG-SCHNDR-00038965)
 8                                                          8
 9                                                          9   Exhibit 125       Brandon's Quick Guide to 196
10                                                         10                  CIMA/CLA apps
11                                                         11                  (GOOG-SCHNDR-00001289 to 1290)
12                                                         12
13                                                         13   Exhibit 126        Addressing creator feedback and 200
14                                                         14                  an update on my 2019 priorities
15                                                         15                  by Susan Wojcicki
16                                                         16                  (GOOG-SCHNDR-00021200 to
17                                                         17                  GOOG-SCHNDR-00021204)
18                                                         18
19                                                         19   Exhibit 127       Master Launches, Master CommDoc 204
20                                                         20                  (GOOG-SCHNDR-00053755 to
21                                                         21                  GOOG-SCHNDR-00053763)
22                                                         22
23                                                         23
24                                                         24
25                                                         25


                                                                                            2 (Pages 2 to 5)
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                                                Page 6                                                      Page 8
 1             SAN FRANCISCO, CALIFORNIA;                    1       A. I worked in the AdSense syndication
 2         WEDNESDAY, JUNE 22, 2022, 9:09 A.M.               2   division. The actual division was called PSO, the
 3                    ***                                    3   Partner Services Organization.
 4          THE VIDEOGRAPHER: Good morning, everyone.        4       Q. And what does a sales engineer do?
 5   We are on the record. This begins Videotape No. 1       5       A. My job was to partner with -- with
 6   in the deposition of Julian Bill in the matter of       6   business development to be responsible for the
 7   Maria Schneider versus YouTube, LLC.                    7   technical aspects of our advertising syndication
 8          It is being heard in the US District             8   deals with large publishers.
 9   Court, Northern District of California,                 9           THE REPORTER: Technical aspects of?
10   San Francisco Division. The case number is             10           THE WITNESS: AdSense syndication deals.
11   3:20-cv-04423-JD. Today is Wednesday, June 22nd,       11   So AdSense is a -- a Google products, where we can
12   2022. The time now is 9:10 a.m. Pacific.               12   run Google Ads from third-party sites.
13          This deposition is being taken at the law       13           MR. RICHLIN: Mr. Bill, when she asks you
14   offices of Boies Schiller Flexner at 44 Montgomery     14   a question, she just wants to hear the word again.
15   Street, 41st floor, San Francisco, California 94104,   15           THE WITNESS: I see.
16   at the request of the New York office of Boies         16           MR. RICHLIN: She's transcribing it.
17   Schiller Flexner LLP.                                  17   BY MS. O'KEEFE:
18          My name is Randall Thieben. I'm the             18       Q. So was your first role at Google as part
19   videographer from Magna Legal Services. And our        19   of the Google Ads team?
20   court reporter today is named Siew Ung of Magna        20       A. It was part of Google AdSense team, which
21   Legal Services.                                        21   is distinct from the Google Ads teams.
22          If counsel and all parties present can          22       Q. Okay. And describe what AdSense does?
23   please state their appearances and whom they           23       A. AdSense is a product offered by Google
24   represent.                                             24   whereby a third-party website can run Google Ads on
25          MS. O'KEEFE: Carol O'Keefe of                   25   their -- on their sites and then share the revenue

                                                Page 7                                                      Page 9
 1   Korein Tillery on behalf of the plaintiffs. With me     1   with Google.
 2   is Ryan Cortazar also of Korein Tillery.                2       Q. And am I correct that uploaders and
 3          MR. RICHLIN: Eli Richlin of Wilson               3   channels who monetize on YouTube must have an
 4   Sonsini Goodrich & Rosati for defendants, as well as    4   AdSense account?
 5   the witness. With me is my colleague Catherine          5         MR. RICHLIN: Objection to form.
 6   Hartman and John Janhunen, who is in-house counsel      6         You can answer.
 7   with Google.                                            7         THE WITNESS: Okay. Yes. The reason I
 8          MS. O'KEEFE: Can you swear the witness?          8   paused there is because that -- the product -- the
 9          THE VIDEOGRAPHER: Great. Thank you               9   AdSense products I worked on before was not
10   everyone.                                              10   associated with the issue.
11          And if the court reporter can please swear      11   BY MS. O'KEEFE:
12   in the witness, we are ready to go.                    12       Q. All right. And how long were you in that
13                 JULIAN BILL,                             13   role?
14     having been first duly sworn, was examined and       14       A. I worked for PSO until it became -- it
15             testified as follows:                        15   became gTech, which is a different organization that
16           EXAMINATION BY MS. O'KEEFE                     16   I worked at until 2015.
17       Q. Good morning, Mr. Bill.                         17       Q. And what is gTech?
18       A. Good morning.                                   18       A. gTech was a rebranding for the same
19       Q. Let's start off with your employment at         19   organization, Google Technology Services.
20   Google.                                                20       Q. And what were your role -- your roles
21          When did you start working there?               21   were -- did they remain the same under the
22       A. I first started at Google there in 2006.        22   rebranding?
23       Q. And what was your first role there?             23       A. So I started as a sales engineer, and then
24       A. I was a sales engineer.                         24   I became a technical account manager. And then I
25       Q. In -- in what division of Google?               25   moved into a role where I was managing the technical

                                                                                       3 (Pages 6 to 9)
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                                             Page 150                                                     Page 152
 1   enable Take Down Stay Down for their takedowns --       1          THE WITNESS: Successful takedowns.
 2   excuse me. That was lunch. In which case the            2   BY MS. O'KEEFE:
 3   system will attempt to find re-uploads of their         3        Q. So why do you say that the purpose is to
 4   videos.                                                 4   allow -- to provide that functionality in a safe
 5   BY MS. O'KEEFE:                                         5   way? Why do you say it's in a safe way?
 6       Q. Has anyone at YouTube, to your knowledge,        6        A. The -- in order -- in order for a takedown
 7   ever considered the possibility of allowing             7   to be successful, it needs to be well-formed and --
 8   successful DMCA takedown complaint owners to provide    8   and qualify as a takedown, and the video is removed
 9   a reference file that represents their actual           9   and then the reference file that we create is
10   digital content in place of the uploader video that    10   limited to the taken-down video.
11   was found to infringe their content?                   11        Q. Why would it be unsafe to allow a
12          MR. RICHLIN: Objection to form.                 12   copyright claimant who has filed a successful
13          THE WITNESS: So the -- the idea of the --       13   takedown notice for a work to provide you a digital
14   the Copyright Match Tool is to -- is to allow          14   copy of the protected work to use as a reference
15   claimants to find re-uploads of videos for -- from     15   file in place of the video that was the subject of
16   match videos on the channel that are a part of our     16   the takedown notice?
17   program, or if they submitted a successful takedown,   17          MR. RICHLIN: Objection to form.
18   then we'll also try to find re-uploads of their        18          THE WITNESS: So to participate in Content
19   videos.                                                19   ID comes with some obligations in terms of
20   BY MS. O'KEEFE:                                        20   responsibilities on the Content ID user.
21       Q. Has anyone at YouTube ever considered           21          And we have -- those -- absent those
22   allowing someone like Maria Schneider to provide you   22   responsibilities, there is harm to the ecosystem
23   with the digital file of her musical work, "Data       23   that could -- could occur if that is not done
24   Lords," and allow her to use the Content ID system     24   responsibly.
25   to find all videos that incorporate or copy that       25   ///

                                             Page 151                                                     Page 153
 1   file as opposed to merely copies of previously          1   BY MS. O'KEEFE:
 2   uploaded videos that were subjected to takedown         2       Q. And if someone can establish their
 3   processes?                                              3   ownership of an audio asset to YouTube's
 4          MR. RICHLIN: Objection to form.                  4   satisfaction, what is the harm to the ecosystem that
 5          THE WITNESS: To my -- I'm not aware of           5   would result in allowing them to use only the
 6   any considerations with respect -- specifically with    6   matching function of the Content ID ecosystem?
 7   respect to Maria Schneider and her content, no.         7          MR. RICHLIN: Objection to form.
 8   BY MS. O'KEEFE:                                         8          THE WITNESS: So -- that is -- that's what
 9        Q. What about creators generally, have you         9   we are trying to achieve with -- with Content ID
10   ever considered offering to allow non-YouTube          10   and -- and how it's made available and used by our
11   partners to provide digital assets -- strike that.     11   users, such that the contents provide -- provided to
12          To the best of your knowledge, has YouTube      12   us in a -- in a manner that allows it to coexist
13   ever considered allowing creators who have filed       13   with content provided by other users of Content ID,
14   successful takedown notices, but are not YouTube       14   and also such that there are mechanisms available --
15   partners, to provide reference files representing      15   we talked about some of those reference conflicts
16   their copyright material for screening in the          16   and ownership conflicts.
17   Content ID database?                                   17          THE REPORTER: Wait. We talked about ...
18          MR. RICHLIN: Objection to form.                 18          THE WITNESS: We talked about some of
19          THE WITNESS: So the -- the intent of the        19   these -- these functions already such that the
20   Copyright Match Tool Take Down Stay Down is to         20   participants -- who can participate in the Content
21   allow -- to provide that kind of functionality in a    21   ID ecosystem and responsibly manage the content they
22   safe way to -- to claimants that issued successful     22   are providing to YouTube.
23   takedowns to us.                                       23   BY MS. O'KEEFE:
24          THE REPORTER: To claimants that                 24       Q. And my question is, what would be the
25   issued ...                                             25   impact on the Content ID ecosystem to -- of allowing


                                                                              39 (Pages 150 to 153)
            Case 3:20-cv-04423-JD Document 303-5 Filed 04/07/23 Page 6 of 11

                                           Page 154                                                      Page 156
 1   a copyright claimant to provide the actual asset      1       A. -- there is no minimum length of a claim
 2   reference file for screening only and matching        2   for -- no minimum length of content for which a
 3   purposes only in the Content ID systems?              3   claim can be made.
 4       A. When you say screening purposes only or        4       Q. In manual claiming, there is no minimum
 5   matching purposes only?                               5   length of content --
 6       Q. Search purpose, finding of content that        6       A. For which a claim can be made.
 7   copies that reference file without the option for     7       Q. -- can be made. And in Automatic
 8   monetization, without the option for blocking,        8   Claiming, is there any minimum length for which a
 9   solely limited to the search function.                9   claim can be made?
10       A. The search function.                          10       A. So -- to -- as I mentioned earlier, we --
11       Q. The digital fingerprint matching function.    11   we -- for audio claims as we -- we often claim down
12       A. I see. So again, that's the -- the intent     12   to              provided that we can maintain our
13   of Content ID is to -- to provide that.              13   precision where we need it to be.
14       Q. Uh-huh.                                       14       Q. Uh-huh.
15       A. We -- there are third parties that provide    15       A. Precision becomes harder to maintain the
16   Content ID services that our creators can chose to   16   lower the length of content is claimed.
17   work with.                                           17       Q. Okay. Why does precision become harder to
18       Q. Uh-huh. And how much do those third           18   maintain the lower the content is?
19   parties charge for their services?                   19       A. Because the content is less distinct. It
20       A. I don't know.                                 20   becomes more likely that one piece of content sounds
21       Q. And do those third parties provide            21   or looks like another piece of content.
22   services to copyright claimants who only want to     22          THE REPORTER: Say that again.
23   block videos?                                        23          THE WITNESS: It becomes more likely that
24         MR. RICHLIN: Objection to form.                24   one piece of content sounds or looks like another
25         THE WITNESS: I know of no reason why they      25   piece of content.

                                           Page 155                                                      Page 157
 1   wouldn't.                                             1   BY MS. O'KEEFE:
 2   BY MS. O'KEEFE:                                       2       Q. And that                    rule is a limitation
 3       Q. But do you know of any who do?                 3   that is applied only in the context of automatic
 4       A. Explicitly advertise services for              4   claiming?
 5   block-only Content ID, no, I don't know.              5       A. The                 rule in -- that I'm
 6       Q. And I'm going to ask you once again, not       6   specifically referring to automatic claiming there.
 7   for the intent of a Content ID system, but what       7   And that's the level that we got down to where we
 8   would be the incremental -- strike that.              8   are still able to maintain precision of where we
 9          What are the short match rules?                9   needed it. But it's not a limitation for manual
10       A. Can you give me a bit more context on what    10   claiming.
11   you are referring to.                                11       Q. Okay. You are still able to maintain
12       Q. We have seen in the documents some            12   99 percent precision or over 99 percent precision --
13   discussion of limitations on claims for short        13       A. With respect to automatic claiming.
14   matches.                                             14       Q. -- precision with respect to automatic
15          What is considered a short match in           15   claiming with the                   rule in place.
16   Content ID?                                          16       A. Because, yes, it's not a hard and fast
17       A. I'd need -- could you give me a bit more      17   rule. It's not -- there -- there are other aspects
18   context on that one.                                 18   of a claim that we look at to know whether or not
19       Q. The requirement that manual claims be made    19   the -- the claim can be made.
20   for claims that are under              ?             20       Q. Uh-huh.
21          MR. RICHLIN: Objection to form.               21       A. But in many cases, we are able to claim --
22          THE WITNESS: So there is -- for manual        22   make audio claims down to                     .
23   claiming --                                          23          MS. O'KEEFE: Ryan, can you please mark as
24   BY MS. O'KEEFE:                                      24   Plaintiff's Exhibit 123 a document ending in Bates
25       Q. Uh-huh.                                       25   number 38782.


                                                                             40 (Pages 154 to 157)
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                                   Witness:
                                   Witness: Julian
                                            Julian Bill — June
                                                   Bill 一
                                                   Bi   — June 22,
                                                               22, 2022
                                                                   2022

                  Schneider v.
                  cj1zeider
                  Schneider 六v. YouTube,  LLC, No.
                                YouTube, ZLC,
                                yorx7rpe, LLC, No. 3:20-cv-04423-JD
                                                   3:20-cv-04423-JD (N.D.
                                               No.3:20-cv-04423-JD  (N.D. Cal.)
                                                                          Cal.)


                                                    Errata
                                                    Errata Sheet
                                                           Sheet



 Page:Line Change                                                                    Reason

一
or
8:11            Replace <products>
               Troe
                Replace <products> with
                                   with <product>
                                        <product>                                    To clarify
                                                                                     To clarify the
                                                                                                the record
                                                                                                    record

8:12
 8:12
8:02       |「Replaee
             | Replace
               Replace <from>
                       <from> with
                              with <on>
                                   <on>                                              To
                                                                                     To clarify
                                                                                        clarify the
                                                                                                the record
                                                                                                    record

一
=
8:20                   <the> between
                Insert <the>
                Insert       between <of>
                                     <of> and
                                          and <Google
                                              <Google AdSense
                                                      AdSense || To
                                                                 To clarify
                                                                    clarify the
                                                                            the record
                                                                                record
                team>
                team>

916
 9:16
9:06       | | Replace
               Repaee  <2015> with
               Replace <2015> with <2012>
                                   <2012>                                            To clarify
                                                                                     To clarify the
                                                                                                the record
                                                                                                    record

 23:9 -         Replace <Insomuch
                Replace   <Insomuch as           as it’s
                                                    it's  one of
                                                    it’s one   of thethe actions
                                                                          actions that
                                                                                    that || To
                                                                                            To clarify
                                                                                               clarify the
                                                                                                       the record
                                                                                                           record
 23:11          you can
                you  can apply,
                          apply, the   the wayway youyou make
                                                            make aa claim
                                                                        claim aa video
                                                                                  video
                as monetize
                as monetize is  lsis 一—– is
                                         lsis one
                                               one of
                                                    of those
                                                         those actions>
                                                                actions>
                with <Insomuch
                with  <Insomuch as          as monetization
                                                monetization is   lsis aa claiming
                                                                          claiming
                policy  that aa Content
                policy that        Content ID     ID partner
                                                      partner cancan apply
                                                                         apply to
                                                                                to aa



EECETTTTCTIT
                Video
                video  that matches
                video that   matches the       the partner’s
                                                    partner”s
                                                    partner’s reference
                                                                 reference file>file>




em
 23:24          Replace <roles> with <rules>                                         To clarify the record



[IT
 32:12          Replace <they> with <I>                                              To clarify the record



[ETETTTIITTTTE
 41:20          Replace <Mihel> with <Michal>                                        To correct transcription error



CI
 42:9           Replace <do> with <use>                                              To correct transcription error



ET
 47:15          Replace <determine> with <it determines>                             To clarify the record



EEC
 50:10          Replace <he> with <we>                                               To correct transcription error



ET
 53:19          Replace <slash> with <question mark>                                 To clarify the record



EE      點 EE
 56:18          Replace <recreate> with <we create>                                  To clarify the record

 58:25          Replace <most> with <almost>                                         To correct transcription error

 62:18
 62:18          Replace <publishing
                Replace  <publishing collection> with <publisher
                                     collection> with <publisher | To
                                                                   To correct
                                                                      correct transcription error
                                                                              transcription error



机 |
                or
                or collection>
                Or collection>




還 NET
 71:4           Omit <Q.>                                                            To correct transcription error

 71:19          Omit <and>                                                           To clarify the record

 85:11
85:11
 85:11     |    Replace
                Replace <denominator>
                        <denominator> with
                                      with <numerator>
                                           <numerator>                               To
                                                                                     To clarify
                                                                                        clarify the
                                                                                                the record
                                                                                                    record
          Case 3:20-cv-04423-JD Document 303-5 Filed 04/07/23 Page 8 of 11

Witness:
Witness: Julian
         Julian Bill — June
                Bill 一
                     — June 22,
                            22, 2022
                                2022

Schneider v.
cj11leider
Schneider  v.冰 YouTube,     LLC, No.
               了 Yorx7zpbe, LLC,
               YouTube,     ZLC, No. 3:20-cv-04423-JD
                                     3:20-cv-04423-JD (N.D.
                                                      (N.D. Cal.)
                                                            Cal.)



3
85:13
85:13          Replace <claim>
               Replace <claim> with
                               with <claimant>
                                    <claimant>                            To correct
                                                                          To correct transcription
                                                                                     transcription error
                                                                                                   error

7
94:7           Replace <service>
               Replace <service> With <surface>
                                 with <surface>
                                 with                                     To correct
                                                                          To correct transcription
                                                                                     transcription error
                                                                                                   error

 100:23                 <the light
               Replace <the
               Replace        light of
                                    of Responses
                                       Responses to
                                                 to Objections>
                                                    Objections> “|| To
                                                                    To clarify
                                                                       clarify the
                                                                               the record
                                                                                   record
               with
               with <light  of YouTube’s
                    <light of  YouTube's   Responses and
                               YouTube’s Responses    and
               Objections>
               Objections>

 113:12 -                <So aa record
               Replace <So
               Replace           record label
                                         label is
                                                is -ls
                                                   —– is inherently what
                                                      is inherently  what || To
                                                                             To clarify
                                                                                clarify the
                                                                                        the record
                                                                                            record
 113:13        they
               they do>   with <That
                     do> with   <That is
                                       is inherently
                                           inherently what
                                                         what aa record
                                                                 record
               label does>
                      does>

[TI
               label



II
 117:18        Replace <formed> with <shown>                              To correct transcription error



ET
 119:7         Replace <definitely> with <differently>                    To correct transcription error



[有 CT
 127:15        Insert <Oh.> before <I agree>                              To correct transcription error



區 點 [本 TE 點 國 本
 141:24        Replace <off a> with <off>                                 To correct transcription error



[加 TE
    本
 148:18        Replace <content> with <Content ID>                        To correct transcription error

 154:16        Replace <chose> with <choose>                              To correct transcription error

6L15
 161:15     | Replace
              Replace <that
                      <that are
                            are able>
                                able> with <that we
                                      with <that    are able>
                                                 we are able> “| To
                                                                 To correct
                                                                    correct transcription
                                                                            transcription error
                                                                                          error

6623
 166:23        Omit <called
               Omit <called product
                            product 一
                                    –>                                    To clarify
                                                                          To clarify the
                                                                                     the record
                                                                                         record

leno
167:23-
167:23- Replace <the
        Replace <the content
                     content that
                             that he> with <Content
                                  he> with          ID> || To
                                           <Content ID>    To clarify
                                                              clarify the
                                                                      the record
                                                                          record
167:24
167:24

0
170:17
170:17         Replace <in
               Replace <in the>
                           the> with
                                with <and
                                     <and a>
                                          a>                              To correct
                                                                          To correct transcription
                                                                                     transcription error
                                                                                                   error

173:23
 173:23
 173:23     | Replace
              Replace <instances> with <partners>
                      <instances> with <partners>                         To
                                                                          To clarify
                                                                             clarify the
                                                                                     the record
                                                                                         record

17525
 175:25
 175:25     | Replace
              Replace <substitution
                      <substitution or>
                                    or> with <substitutional> “|
                                        with <substitutional> | To
                                                                 To correct
                                                                    correct transcription
                                                                            transcription error
                                                                                          error

 181:1 -                <under services,>
               Replace <under
               Replace           services,> with
                                            with <enter
                                                 <enter into
                                                         into       To clarify
                                                                    To clarify the
                                                                               the record
                                                                                   record
 181:2         agreements   with YouTube
               agreements with    YouTube pursuant
                                            pursuant to
                                                      to which
                                                         which they
                                                               they
               represent
               represent that>
                         that>

812
 181:2
 181:2         Replace <they
               Replace <they have>
                             have> with
                                   with <they
                                        <they need
                                              need to
                                                   to have>
                                                      have>               To clarify
                                                                          To clarify the
                                                                                     the record
                                                                                         record

點 大
 182:18
 182:18

182:20
 182:20
 182:20
               Replace
               Replace <allow>

            | Replace
                       <allow> with

              Replace <product>
                               with <allowlist>

                      <product> with
                                    <allowlist>

                                with <partner>
                                     <partner>
                                                                          To correct transcription error

                                                                          To clarify
                                                                          To clarify the
                                                                                     the record
                                                                                         record



                                                     2
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Witness:
Witness: Julian
         Julian Bill — June
                Bill 一
                     — June 22,
                            22, 2022
                                2022

Schneider v.
cj11leider
Schneider  v.冰 YouTube,     LLC, No.
               了 Yorx7zpbe, LLC,
               YouTube,     ZLC, No. 3:20-cv-04423-JD
                                     3:20-cv-04423-JD (N.D.
                                                      (N.D. Cal.)
                                                            Cal.)




E
ET
 202:6         Replace <monetized> with <monetize>                   To correct transcription error



EEC
 203:1         Replace <policies> with <policy>                      To correct transcription error



EEC
 203:2         Delete <content>                                      To correct transcription error



ET
 203:3         Replace <create> with <created>                       To correct transcription error



ET
 203:4         Replace <created> with <creator>                      To correct transcription error



EEC
 203:5         Replace <were being> with <that were then>            To clarify the record



ET
 203:6         Replace <monetizing> with <monetize>                  To clarify the record



ET
 203:12        Replace <monetized> with <monetize>                   To correct transcription error



ET
 208:22        Replace <pre-published> with <pre-publish>            To correct transcription error



ET
 209:23        Replace <asset> with <search>                         To correct transcription error



FI
 213:22        Replace <aggregated> with <aggregator>                To correct transcription error



ET
 214:3         Replace <to> with <would>                             To clarify the record

 215:88
2158        | Insert
              Insert <No>
                     <No> after
                          after <okay.>
                                <okay.>                              To
                                                                     To  correct
                                                                      To correct transcription error
                                                                         correct transcription error
                                                                                                ror |

 215:10
 215:10        Replace
               Replace <Better
                        <Better ask
                                ask him>
                                    him> with
                                         with <you
                                              <you have better || To
                                                   have better    To correct
                                                                     correct transcription
                                                                             transcription error
                                                                                           error
Fir            eyes than
               eyes than me>
                         me>

2171
 217:11
271        | | Replace
               Replace <contact>
                       <contact> with <context>
                                 with <context>                      To clarify
                                                                     To
                                                                    To  clarify the
                                                                                the  record
                                                                                 the record
                                                                                     record

21921
 219:21
 219:21     | Replace
              Replace <User> with <users
                      <User> with        0 位
                                  <users of>
                                         of>                         To
                                                                     To correct
                                                                        correct transcription
                                                                                transcription error
                                                                                              error

2209
 220:9
 220:9         Replace <may>
               Replace <may> with
                             with <must>
                                  <must>                             To correct
                                                                     To correct transcription
                                                                                transcription error
                                                                                              error

 221:2
 221:2         Insert
               Insert <OK,
                      <OK, we
                           we have
                               have aa copy
                                       copy of
                                            of this
                                               this email.>
                                                    email.>          To
                                                                     To correct
                                                                        correct transcription
                                                                                transcription error
                                                                                              error
               between <MS.
               between  <MS. O’KEEFE:>
                              O’KEEFE:>     and <Do>
                               O' 下 EEFE:> and   <Do>

2215
 221:5
 221:5         Insert <even>
               Insert <even> between
                             between <don’t>
                                     <don'
                                     <don’t>亿 and
                                              and <know>
                                                  <know>             To correct
                                                                     To correct transcription
                                                                                transcription error
                                                                                              error

 221:6
 221:6         Replace
               Replace <that
                       <that it
                             it even>
                                even> with
                                      with <for whether it>
                                           <for whether it>          To
                                                                     To clarify
                                                                        clarify the
                                                                                the record
                                                                                    record




                                                 3
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